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     ALTICE USA, INC. and
9    CSC HOLDINGS, LLC
10
                          UNITED STATES DISTRICT COURT
11
                        CENTRAL DISTRICT OF CALIFORNIA
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13   In re: Third Party Subpoena Issued to      Case No.
     OPSEC ONLINE LLC
14                                              Related to No. 2:22-cv-00471-JRG in
                                                the United States District Court
15   BMG RIGHTS MANAGEMENT (US)                 Eastern District of Texas Marshall
     LLC; UMG RECORDINGS, INC.;                 Division
16   CAPITOL RECORDS, LLC;
     CONCORD MUSIC GROUP, INC.;                 DECLARATION OF DIANA
17   and CONCORD BICYCLE ASSETS,                HUGHES LEIDEN IN SUPPORT OF
     LLC,                                       MOTION TO COMPEL
18                                              COMPLIANCE WITH THE
                 Plaintiffs,                    SUBPOENA ISSUED TO OPSEC
19                                              ONLINE LLC
           v.
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     ALTICE USA, INC. and CSC
21   HOLDINGS, LLC,
22               Defendants.
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                               DECLARATION OF DIANA HUGHES LEIDEN
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1            I, Diana Hughes Leiden, declare as follows:
2            1.    I am an attorney and member of the State Bar of California. I am an
3    attorney at the law firm of Winston & Strawn LLP (“Winston & Strawn”), counsel of
4    record for Movants Altice USA, Inc. and CSC Holdings, LLC (collectively, “Altice”).
5    I have personal knowledge of the facts set forth herein and, if called to testify, could
6    and would competently testify thereto.
7            2.    I submit this declaration in support of Altice’s Motion to Compel
8    Compliance with the Subpoena Issued to OpSec Online LLC (“OpSec”).
9            3.    Plaintiffs UMG Recordings, Inc., Capitol Records, LLC, Concord Music
10   Group, Inc., and Concord Bicycle Assets, LLC have identified OpSec as a third party
11   with information relevant to the Underlying Litigation in their Supplemental Initial
12   Disclosures, individually served on April 28, 2023. Attached hereto as Exhibit A are
13   true and correct copies of Plaintiffs’ Supplemental Initial Disclosures.
14           4.    Attached hereto as Exhibit B is a true and correct excerpt of the Subpoena
15   Duces Tecum served on OpSec by Altice on June 29, 2023 (which excludes a lengthy
16   exhibit listing all of Plaintiffs’ works-in-suit).
17           5.    Attached hereto as Exhibit C is a true and correct copy of OpSec’s
18   Objections and Responses to Altice’s Subpoena Duces Tecum, served on August 2,
19   2023.
20           6.    On August 1, 2023, while Altice’s subpoena was pending, counsel for
21   Plaintiffs sent my colleague, Michael Elkin, a letter stating that Plaintiffs would not rely
22   on OpSec evidence to prove direct infringement of the works-in-suit, in order to
23   “streamline the case.” Attached hereto as Exhibit D is a true and correct copy of that
24   correspondence.
25           7.    On August 9, 2023, my colleague Krishnan Padmanabhan wrote a letter to
26   counsel for OpSec requesting a meet and confer regarding OpSec’s objections and
27   responses to Altice’s subpoena. Attached hereto as Exhibit E is a true and correct copy
28   of that correspondence.

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1          8.    On August 15, 2023, I participated in a meet and confer with counsel for
2    OpSec, Timothy Reynolds, relating to its objections to Altice’s subpoena. Thereafter,
3    Mr. Reynolds and I had several other discussions and exchanged correspondence via
4    email regarding potential compromises that could be reached on the scope of Altice’s
5    subpoena in light of Plaintiffs’ representation that they would not rely on OpSec
6    evidence for purposes of proving direct infringement in the Underlying Litigation.
7          9.    Relying on Plaintiffs’ representation in the Underlying Litigation, Altice
8    agreed to narrow the scope of the requests to the claims period of the litigation as
9    opposed to the time period encompassing when OpSec initiated its relationship with
10   Plaintiffs. Altice also agreed to accept summary reports as opposed to a more complete
11   set of evidence relating to OpSec’s alleged detection of infringement of Plaintiffs’
12   works on its network. Further, Altice did not insist that OpSec produce detailed
13   documentation regarding the reliability and accuracy of OpSec’s system, such as
14   documents concerning false positive results from the OpSec System, operational audits
15   of the OpSec System, and documents and communications pertaining to any technical
16   assessments of the OpSec System, or the bugs, flaws, weaknesses, or potential
17   improvements to the OpSec System, and any proposed and/or implemented path or
18   remediation of any such bugs, flaws, or weaknesses.
19         10.   In response to Altice’s proposals, OpSec initially agreed to produce
20   documents responsive to certain requests regarding (i) the reliability of OpSec’s and
21   Audible Magic’s services and data underlying the verification and notice-sending
22   process, as well as (ii) documents relating to OpSec’s services and relationship with
23   Plaintiffs and the RIAA.
24         11.   On September 20, 2023, Plaintiffs reversed course and withdrew their
25   prior, unequivocal representation—stating that “Plaintiffs will use any and all such
26   information, and rely on OpSec evidence, in any way they see fit, including in
27   connection with proving direct infringement.” Attached hereto as Exhibit F is a true
28   and correct copy of that correspondence. Altice subsequently filed a motion in the

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1    Underlying Litigation to hold Plaintiffs to their initial representation and preclude them
2    from relying on OpSec notice data to prove direct infringement, which has not yet been
3    heard by Judge Gilstrap.
4          12.    I subsequently informed Mr. Reynolds, that, as a result of Plaintiffs’
5    changed position, Altice would have to insist on OpSec’s production of documents in
6    response to the subpoena as originally drafted. In an attempt to reduce the burden on
7    OpSec, I informed Mr. Reynolds that Altice offered to accept documents from OpSec
8    in two tranches—one set of the documents that OpSec had originally agreed to produce
9    and a source code review, followed by a second set of documents (including the more
10   detailed notice data) that Altice had been willing to forego when Plaintiffs were
11   committed not to use OpSec data in order to prove direct infringement. I confirmed that
12   if Altice’s preclusion motion was granted by the Underlying Court, Altice could likely
13   forego the second set of documents. OpSec rejected that compromise and has refused
14   to produce a single document or permit a routine source code review.
15         13.    Despite Altice informing OpSec of Plaintiffs’ change of position and
16   explaining why it is now necessary to pursue its subpoena as drafted, OpSec continues
17   to object to producing any documents to Altice—parroting Plaintiffs’ position that
18   Altice is to “blame” for Plaintiffs’ about-face for continuing to seek limited categories
19   of OpSec evidence after Plaintiffs represented that they would not rely on OpSec
20   evidence to establish direct infringement. For example, on November 13, Mr. Reynolds
21   justified OpSec’s refusal to produce documents by claiming that “because Defendants
22   insisted on production of OpSec’s source code, infringement data, and other
23   information for use in their defense, Plaintiffs have said that they will also rely on such
24   data, and Defendants are insisting on even broader discovery from OpSec.”
25         14.    The parties in the Underlying Litigation entered into a Stipulated
26   Protective Order that governs the review of source code produced by both parties and
27   third parties and that includes very strict measures to protect the confidentiality of any
28   code that is made available. Altice provided the Protective Order to OpSec on August

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1    15, 2023, and OpSec confirmed that it adequately addressed its concerns about
2    confidentiality and the source code review process. Attached hereto as Exhibit G is a
3    true and correct copy of the protective order entered into in the Underlying Litigation.
4           15.    Other third parties in the Underlying Litigation, including Rightscorp, Inc.
5    and Audible Magic Corporation, have already made their source code available for
6    Altice’s inspection pursuant to third-party subpoenas served by Altice and subject to
7    the protections in the Stipulated Protective Order.
8           16.    On December 19, 2023, I met and conferred with Mr. Reynolds again and
9    informed him that Altice planned to file this instant Motion in California and sought
10   OpSec’s agreement to transfer the Motion to the Eastern District of Texas. Mr.
11   Reynolds informed me that he would confer with OpSec as to whether it would stipulate
12   to the transfer.
13          17.    Attached hereto as Exhibit H is a true and correct copy of the public
14   version of an Order granting Defendant Charter Communications, Inc.’s Motion to
15   Compel Compliance with the Subpoena Duces Tecum served on OpSec in Warner Bros.
16   Records Inc., et al. v. Charter Commc’n, Inc., Case No. 1:19-cv-00874-RBJ-MEH,
17   issued by the District of Colorado October 5, 2020.
18          18.    Attached hereto as Exhibit I is a true and correct copy of an Order
19   directing OpSec (f/k/a MarkMonitor, Inc.) representative Sam Bahun to appear in-
20   person to testify regarding MarkMonitor’s relationship with Plaintiffs in UMG
21   Recordings, Inc., et al. v. Bright House Networks, LLC, Case No. 8:19-cv-710-MSS-
22   TGW.
23          19.    Attached hereto as Exhibit J is a true and correct copy of an Order granting
24   Defendant Cox Communications, Inc.’s Motion to Compel in Cox Commc’n, Inc. v.
25   MarkMonitor, Inc., Case No. 19-mc-80050-SK, issued by the Northern District of
26   California on March 7, 2019.
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1          I declare under penalty of perjury under the laws of the State of California and
2    the United States of America that the foregoing is true and correct.
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4          Executed December 20, 2023, at Los Angeles, California.
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                                               /s/ Diana Hughes Leiden
6                                               Diana Hughes Leiden
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                               DECLARATION OF DIANA HUGHES LEIDEN
